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                             Exhibit B: Politics and Elections in Idaho

                                          Summary Points

1. Statewide, Republicans have substantially more identifiers with their political party than
Democrats; Independents are the second largest political identity in Idaho, followed by Democrats.

2. Republican candidates contested many more direct primary elections than Democratic
candidates.

3. Republican candidates contested a majority of federal and statewide direct primary elections in
Idaho, but contested many fewer state legislative races; few of the Republican primary contests are
competitive.

4. There is variation across Idaho with regard to differences in partisanship, ideology, and general
election outcomes.

5. Federal and statewide general elections in Idaho have been dominated by Republican candidates
since 1994.

6. Both houses of the Idaho Legislature have been controlled by the Republican Party since 1959,
and that control has routinely been with remarkably large majorities, especially since 1994.

7. Idaho has been classified as the least competitive state, by a considerable margin, with regard to
a lack of interparty competition in the United States since 1994 on the Ranney Party Control Index.
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Introduction

Many facts are not in evidence with regard to Idaho’s politics and electoral system. This section
represents an elaboration of these facts for the Court, and will be referred to throughout our
exhibits.

Many of the analyses that follow were conducted by Saunders using publicly available data from the
Idaho Secretary of State’s Office, except where noted. These data can be found at this site:
http://www.sos.idaho.gov/elect/results.htm, and were accessed April 1, 2010, except where
otherwise noted. 1

Politics and Elections in Idaho

1. Statewide, Republicans have substantially more identifiers with their political party than
with Democrats; Independents are the second largest political identity in Idaho, followed by
Democrats.

According to the Boise State University Social Science Research Center’s (SSRC) 19th Annual Idaho
Public Policy Survey, conducted in 2008, party identification in Idaho was estimated at 40%
Republican, 28% Independent, and 25% Democrat, with 7% of respondents giving an answer of
another party or a nonresponse (“don’t know,” etc.)

The state of Idaho is a conservative-leaning state. 16% of respondents of the same SSRC survey
described themselves as “very conservative,” 36% as “conservative,” 28% as “middle of the road,”
14% as “liberal,” and 5% as “very liberal,” while 1% gave a nonresponse.

Using the SSRC’s data mentioned above, the Boise State Public Policy Center published Nineteen
Years of Public Opinion: The Boise State University Annual Public Policy Survey in 2009 (p. 3). The
SSRC report contained a summary of the same measure of party identification noted above, but
presented the party identification survey data each year from 1998-2008 (p. 10). 2 That figure is
presented below (Figure B-1). From this time series, we see that over those ten years, the trend in
statewide attitudinal party identification in Idaho was relatively stable. 3

(Sources: 2008 Partisanship and 2008 Ideology can be found at
http://ppa.boisestate.edu/ssrc/archive/2008-annualsurvey19.pdf, accessed April 1, 2010, pp. 24-
25; 1998-2008 Partisanship can be found at
http://sspa.boisestate.edu/publicpolicycenter/publications/2009-annualsurvey20.pdf, accessed
April 1, 2010, p. 10)




1 In certain Exhibits in this report, where data sources are cited, those sources and weblinks will be left in text for ease of

access.
2 Due to funding cuts, the last year a survey was conducted by the SSRC was in 2008; as such, this report contains the most

recent data available from the collection. These data seem to represent the most recent publicly available estimates of
Idaho’s partisan balance. We do not claim that these data are representative of the time period between the execution of
the survey and the present; however, it is the best existing estimate.
3 Measurement of partisanship and the question used here will be discussed in much greater detail in Exhibits C, D, and E.
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Figure B-1: Idaho Political Party Identification, 1998-2008




(Source: http://sspa.boisestate.edu/publicpolicycenter/publications/2009-annualsurvey20.pdf, p.
10)

2. Republican candidates contested many more direct primary elections than Democratic
candidates.

Republican candidates contested (defined as having more than one candidate running for a
particular office) many more primary elections for federal and statewide offices in Idaho than
Democrats from 1994-2008; Democratic candidates contested 18 of 53 (34%) primary elections for
federal and statewide offices, while Republicans contested 32 of 53 (60.4%).

Over the same time period, Republicans contested a much greater number of primary elections for
state legislative offices (including both Senate and House) than Democrats. By an order of
magnitude less, Democrats contested 26 of 840 (3.1%) Idaho legislative primary elections, while
Republicans contested 260 of 840 (31%) of the Idaho legislative primary elections.

3. Republican candidates contested a majority of federal and statewide direct primary
elections in Idaho, but contested many fewer state legislative races; few of the Republican
primary contests are competitive.

As mentioned above, a majority of Republican primary elections for federal and statewide office in
Idaho between the years 1994 and 2008 were contested (32 of 53, 60.4%), but very few of them
were competitive (see Table B-1). Of the 53 total federal and statewide primary elections, only 5
(9.4%), were contested and competitive (“competitive” being conservatively defined in these data
as when contested races were decided by a margin of victory of less than 10%), which amounts to 5
of 32 (15.6%) of total contested federal and statewide primary elections. Further, a majority of the
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contested primary federal and statewide elections had a margin of victory of over 20% (19 of 32,
59.4%). The proportion of total federal and statewide primary elections that had a margin of
victory of over 20% or were uncontested was 40 of 53 (75.5%).

A lower percentage of primary elections for state legislative seats in Idaho (both Senate and House)
were contested between the years 1994 and 2008 (see Table B-2)—only 31% (260 of 840) of the
Idaho legislative primary elections were contested. Of the total 840 state legislative elections, only
a small portion, 67 (or 8%), were contested and competitive; (again “competitive” is defined in this
table as a particular race being decided by a margin of victory of less than 10%), which amounts to
67 of 260 (25.8%) of total contested state legislative primary elections. Further, a majority of those
primary elections that were contested had a margin of victory of over 20% (132 of 260, 50.8%).
The proportion of total Idaho legislative primary elections that had a margin of victory of over 20%
or were uncontested was 692 of 840 (or 82.4%).

(Source: Idaho Secretary of State, Idaho Election Results,
http://www.sos.idaho.gov/ELECT/results.htm)

Points 2 and 3 are included to demonstrate that the universe of contested primary elections in
Idaho is a small one. Additionally, a relatively small percentage of those primary elections are
competitive. When discussing crossover voting, it is important to remember that the number of
races that might be influenced by negative strategic voting behavior is very small. We will discuss
this further in Exhibit E, the crossover voting section of our report.
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Table B-1: Contested and Competitive Idaho Federal (Presidential and Congressional) and Statewide Republican Primary Elections,
1994-2008

                                                                                    Primary Margins
                                                                     >=5% and                               >=15% and
    Year       Average Margin     Contested   Total       <5%          <10%         >=10% and <15%            <20%            >=20%

   2008               48.7%           4         4          0             0                  0                    0               4
   2006               24.6%           5         9          1             1                  0                    1               2
   2004               57.0%           1         4          0             0                  0                    0               1
   2002               18.3%           5        10          1             2                  0                    0               2

Totals (2002-2008)                   15        27          2             3                  0                    1               9

   2000               37.5%           2         3          0             0                  0                    0               2
   1998               33.0%           7        10          1             1                  1                    0               4
   1996               49.3%           3         4          0             0                  0                    0               3
   1994               11.6%           5         9          1             1                  1                    1               1

Totals (1994-2000)                   17        26          2             2                  2                    1              10


Overall (1994-2008)                  32        53          4             5                  2                    2              19

Percentages of Total                  60.4%               7.6%          17.0%            20.8%                 24.5%          60.4%
(cumulative)
Source: Idaho Secretary of State, http://www.sos.idaho.gov/ELECT/results.htm, accessed April 8, 2010
Note: Margins are percentage differences between top two finishers in each race
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Table B-2: Contested and Competitive Idaho State Legislative Republican Primary Elections, 1994-2008

                                              Contested   Contested                         Seat Margins
                  Avg                           State       State             >=5% and       >=10% and        >=15% and
    Year         Margin   Contested   Total    Senate      House      <5%       <10%           <15%             <20%          >=20%

    2008         23.9%       28       105        10          18         4          4              2                 2            16
    2006         21.6%       28       105         8          20         2          3              5                 6            12
    2004         18.8%       37       105        12          25         9          6              3                 5            14
    2002         18.1%       52       105        20          32        11          9              4                 9            19

Average/Totals   20.6%       145      420        50          95        26         22             14                22            61

    2000         29.3%       33       105        11          22         2          2              4                 5            20
    1998         24.4%       31       105        12          19         2          4              2                 5            18
    1996         26.7%       33       105        13          20         3          2              1                 5            22
    1994         25.8%       18       105         7          11         2          2              0                 3            11

Average/Totals   26.6%       115      420        43          72         9         10              7                18            71


Overall Avg/Totals           260      840        93         167        35         32             21                40           132

Percentages of Total         31.0%                                      4.2%      8.0%           10.5%           15.2%         31.0%
(cumulative)
Source: Idaho Secretary of State, http://www.sos.idaho.gov/ELECT/results.htm, accessed April 8, 2010
Note: Margins are percentage differences between top two finishers in each race
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4. There is variation across Idaho with regard to differences in partisanship, ideology, and
general election outcomes.

The Boise State University SSRC survey noted above sampled across the state, breaking the state
into six regions to assure a representative sample (pp. 5-6). Tables 29 and 31 (pp. 40-41) from that
report present the party identification and ideology data noted above, but also demonstrate how
those measures vary across their regional boundaries in Idaho. While the sample sizes are too
small to argue that this variation is definitive, we offer it as evidence that there is indeed variation
across the state with regard to partisan identification and ideology. Idaho is not uniform in nature.

(Source: http://ppa.boisestate.edu/ssrc/archive/2008-annualsurvey19.pdf, accessed April 1,
2010)

Despite the strong Republican advantage in Idaho, there is a reasonable amount of regional
variation and pockets of Democratic strength. While Republicans dominate the state in general
election outcomes, some areas of Idaho tend to support Democratic candidates in Idaho general
elections. Professor Martin generated Figures B-2 and B-3 below, using available county-level
election data (Source: http://www.sos.idaho.gov/ELECT/results.htm) and a mapping program to
illustrate the variation of voting in the 2006 gubernatorial general election and 2008 presidential
general election. Note that the shading in the two figures for the two elections is highly correlated.
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Figure B-2. Percent Republican (two-party vote) for the 2006 Idaho gubernatorial election, by
 county. Key offers base shades for comparison and is not comprehensive of all shades. Data
                   source: Idaho Secretary of State, Idaho Election Results,
                        http://www.sos.idaho.gov/elect/results.htm.
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Figure B-3. Percent Republican (two-party vote) for the 2008 presidential election in Idaho, by
 county. Key offers base shades for comparison and is not comprehensive of all shades. Data
                   source: Idaho Secretary of State, Idaho Election Results,
                        http://www.sos.idaho.gov/elect/results.htm.
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5. Federal and statewide general elections in Idaho have been dominated by Republican
candidates since 1994.

Republicans have won an overwhelming majority of statewide federal and state general elections
(49 of 53, 92.5%) since 1994, including the presidential vote in each election. The exceptions are:
Marilyn Howard in 1998 and 2002 running for Superintendent of Public Instruction, and J.D.
Williams running for State Auditor/Controller in 1994 and 1998. These exceptions amount to 4 out
of 53 elections.

Republicans have won every election for the US House of Representatives save one (15 of 16,
93.8%) since 1994. The exception is Walt Minnick (D), winning ID-1 in 2008. This exception is of 1
out of 16 elections.

(Sources: Idaho Secretary of State, Idaho Blue Book, “Executive Branch,” 2010, accessed April 27,
2010, http://www.sos.idaho.gov/elect/bluebook/2010/03_executive.pdf, Idaho Secretary of State,
Idaho Blue Book, “Congressional Delegation,” 2010, accessed April 27, 2010,
http://www.sos.idaho.gov/elect/bluebook/2010/02_congressional.pdf, and
http://www.sos.idaho.gov/ELECT/results.htm)

6. Both houses of the Idaho Legislature have been controlled by the Republican Party since
1959, and that control has routinely been with large majorities, especially since 1994.

Over the past ten years, margins have held relatively stable in the Idaho State Senate from a
maximum of 31-4 in 1998 to a minimum 28-7 in the session that just concluded (See Table B-3
below). In the Idaho State House, the maximum margin was 61-9 in 2000 ranging to a minimum of
51-19 in 2006; in the 2008-09 session, the margin was 52-18 in favor of the Republicans.

Prior to this, the most recent show of strength by the Democratic Party at the state legislative level
was in 1990, when there was an evenly split Idaho Senate (21-21; the Idaho Senate had 42 seats
from 1985-1992), Republicans held the Idaho House at a 42-28 margin. Republicans gained the
majority in the Idaho Senate back the next session and have held it since.

(Sources: Idaho Secretary of State, Idaho Blue Book, “Legislative Branch,” 2010, accessed 27 APR
2010, http://www.sos.idaho.gov/elect/bluebook/2010/04_legislative.pdf, p. 196-97; Idaho
Secretary of State, Make-Up of Legislature, http://www.sos.idaho.gov/elect/legstat.htm, accessed
April 4, 2010)
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Table B-3: The Political Party Breakdown of the Idaho Legislature, 1961-2009
                         Number of Senate                                 Number of House
       Year                    Seats          Republican Democrat             Seats             Republican    Democrat
      1961                      44                 23           21             59                  31           28
      1963                      44                 23           21             63                  34           29
      1965                      44                 25           19             79                  42           37
      1967                      35                 22           13             70                  38           32
      1969                      35                 20           15             70                  38           32
      1971                      35                 19           16             70                  41           29
      1973                      35                 23           12             70                  51           19
      1975                      35                 21           14             70                  43           27
      1977                      35                 20           15             70                  48           22
      1979                      35                 19           16             70                  50           20
      1981                      35                 23           12             70                  56           14
      1983                      35                 21           14             70                  51           19
      1985                      42                 28           14             84                  67           17
      1987                      42                 26           16             84                  64           20
      1989                      42                 23           19             84                  64           20
      1991                      42                 21           21             84                  56           28
      1993                      35                 23           12             70                  50           20
      1995                      35                 27            8             70                  57           13
      1997                      35                 30            5             70                  59           11
      1999                      35                 31            4             70                  58           12
      2001                      35                 32            3             70                  61            9
      2003                      35                 28            7             70                  54           16
      2005                      35                 28            7             70                  57           13
      2007                      35                 28            7             70                  51           19
      2009                      35                 28            7             70                  52           18
Average since 1993                               28.33         6.67                               55.44        14.56
Source: Idaho Secretary of State, Idaho Blue Book, 2010, accessed April 27, 2010,
http://www.sos.idaho.gov/elect/bluebook/2010/04_legislative.pdf
Note: The number of seats changed in both the Senate and House over time, so comparison in averages over the entirety of
1961-2009 was invalid.
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7. Idaho was classified as the least competitive state, by a considerable margin, with regard to
a lack of interparty competition in the United States since 1994 on the Ranney Party Control
Index.

The political science literature relies on a measure called the Ranney Index to gauge the amount of
party competition in a state. The Ranney Index (or Ranney Party Control Index, Table B-4, but
labeled “Table 3-4” in its original text below) averages three indicators of the degree of interparty
competition during a particular time period across all 50 US states. The index is calculated by
comparing the percentage of the popular vote for the parties’ gubernatorial candidates, the
percentages of seats held by the parties in each house of the legislature, and the length of time plus
the percentage of the time that the parties held both the governorship and a majority in the state
legislature. This measure has been consistently measured since 1965 and has been used
extensively in comparative state analyses throughout the political science literature.

The measure that results from the combination of the factors mentioned above is a scale that varies
from 0 to 1. The midpoint of this scale is .5; this equals “perfect two party competition,” meaning
that both parties are vibrant, competitive, and hold office to an equal extent over the time period
under study. The second column in the table below is the Ranney Competition Index. To compute
this index, the Ranney Party Control Index is merely “folded” and the midpoint moved to a value of
1, which now represents “perfect two party competition.” This means that the lower the number,
the further away the state is from perfect two-party competition.

Idaho ranks as the most extreme state on these indices and is the furthest away from perfect two-
party competition of any state in the US over multiple rankings conducted over the time period
from 1994 to 2006 (2006 is the most recent measure available). In short, given that there is no
evidence of any substantive change in statewide elections since 2006, Idaho has presented the most
extreme example of one-party domination, in this case Republican, of any state in the Union over
the past decade and a half.
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Table B-4: The Ranney Party Control Indices, 2003-2006




Source: Holbrook, Thomas and Raymond La Raja, “Parties and Elections,” in Virginia Gray and
Russell L. Hanson, eds., Politics in the American States: A Comparative Analysis, 9th edition
(Washington DC: CQ Press, 2008, p. 84). Original measure: Ranney, Austin, “Parties in State
Politics,” in Herbert Jacob and Kenneth Vines, eds., Politics in the American States (Boston: Little,
Brown, 1965, p. 65).
